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U.S. DISTRICT COURT
NORTHERN DISTRICT OL TEXAS

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CLERK, US. DISTRIC RGA |

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FILED
April 5, 2021

Lyle W. Cayce
Clerk

 

 

 

 

No. 20-10254

UNITED STATES OF AMERICA,
Plaintiff—Appellee,
versus

JORDAN LEE BELL,

Defendant— Appellant.

 

Appeal from the United States District Court
for the Northern District of Texas
USDC No. 4:17-CR-58-1

 

Before JONES, CLEMENT, and GRAVES, Circuit Judges.
JUDGMENT

This cause was considered on the record on appeal and the briefs on
file.

IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED AS MODIFIED.

 

Certified as a true copy and issued
as the mandate on Apr 27, 2021

Attest:
Sede Coaey
Clerk, U.S. rt of & , Fifth Circuit

 
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LYLE W. CAYCE TEL. 504-310-7700 OF TEXAS
CLERK 600 S. MAESTRI PLACE,
Suite 115

NEW ORLEANS, LA 70130

April 27, 2021

Ms. Karen S. Mitchell

Northern District of Texas, Fort Worth
United States District Court

501 W. 10th Street

Room 310

Fort Worth, TX 76102

No. 20-10254 USA v. Bell
USDC No. 4:17-CR-58-1

Dear Ms. Mitchell,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.

Sincerely,

LYLE W. CAYCE, Clerk
Oarls Whadre,
By:

Charles B. Whitney, Deputy Clerk
504-310-7679

 

cc:
Mr. Brandon Elliott Beck
Mr. Kevin Joel Page
Ms. Leigha Amy Simonton

 
